Case 09-10138-MFW   Doc 1893-3   Filed 11/12/09   Page 1 of 3




                      EXHIBIT B

                     Proof of Claim
                                     Case 09-10138-MFW                             Doc 1893-3                  Filed 11/12/09                      Page 2 of 3
United States Bankruptcy Court for the District of Delaware
Nortel Networks Inc. Claims Processing                                                                                                 PROOF OF CLAIM
c/o Epiq Bankruptcy Solutions, LLC
FDR Station, P.O. Box 5075
New York, NY 10150-5075
In Re:                                                   Chapter 11
Nortel Networks Inc., et al.                             Case No. 09-10138 (KG)
                Debtors.                                             Jointly Administered
Name of Debtor Against Which Claim is Held               Case No. of Debtor



NOTE: This form should not be used to make a claim for an administrative expense
   arising after the commencement of the case. A request for payment of an
   administrative expense may be filed pursuant to 11 U.S.C. § 503.                                                       THIS SPACE IS FOR COURT USE ONLY
Name and address of Creditor : (and name and address where notices should be sent if                            Check this box to indicate that
different from Creditor)                                                                                   this claim amends a previously filed
                                                                                                           claim.


                                                                                                           Court Claim
                                                                                                           Number:_____________
                                                                                                            (If known)

                                                                                                           Filed on: _____________
Telephone number:                                   Email Address:
Name and address where payment should be sent (if different from above)
                                                                                                                Check this box if you are aware
                                                                                                           that anyone else has filed a proof of
                                                                                                           claim relating to your claim. Attach
                                                                                                           copy of statement giving particulars.

                                                                                                               Check this box if you are the
                                                                                                           debtor or trustee in this case.
Telephone number:                                   Email Address:
                                                                                                                                                     5. Amount of Claim Entitled to Priority
1.    Amount of Claim as of Date Case Filed: $ _______________________________                                                                       under 11 U.S.C. §507(a). If any portion of
                                                                                                                                                     your claim falls in one of the following
            If all or part of your claim is secured, complete Item 4 below; however, if all of your claim is unsecured, do not
     complete item 4.                                                                                                                                categories, check the box and state the
                                                                                                                                                     amount.
     If all or part of your claim is entitled to priority, complete Item 5.
            Check this box if claim includes interest or other charges in addition to the principal amount of the claim.                             Specify the priority of the claim:
      Attach itemized statement of interest or additional charges.
                                                                                                                                                         Domestic support obligations under 11
2.    Basis for Claim: ___________________________________________________                                                                           U.S.C. § 507(a)(1)(A) or (a)(1)(B).
      (See instruction #2 on reverse side.)                                                                                                              Wages, salaries or commissions (up to
                                                                                                                                                     $10,950), earned within 180 days before filing
3.    Last four digits of any number by which creditor identifies debtor: _____________________________                                              of the bankruptcy petition or cessation of the
      3a. Debtor may have scheduled account as: _____________________________________                                                                debtor's business, whichever is earlier - 11
            (See instruction #3a on reverse side.)                                                                                                   U.S.C. § 507(a)(4).
                                                                                                                                                         Contributions to an employee benefit plan -
4.    Secured Claim (See instruction #4 on reverse side.)                                                                                            11 U.S.C. § 507(a)(5).
      Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the requested
                                                                                                                                                         Up to $2,425 of deposits toward purchase,
      information.
                                                                                                                                                     lease, or rental of property or services for
                                                                                                                                                     personal, family, or household use - 11 U.S.C.
     Nature of property or right of setoff: Real Estate                             Motor Vehicle                Other
                                                                                                                                                     § 507(a)(7).
     Describe: __________________________________
                                                                                                                                                         Taxes or penalties owed to governmental
     Value of Property: $__________________________ Annual Interest Rate _______%                                                                    units - 11 U.S.C. § 507(a)(8).
                                                                                                                                                         Other – Specify applicable paragraph of 11
      Amount of arrearage and other charges as of time case filed included in secured claim, if any:                                                 U.S.C. § 507(a)(_____).
      $___________________________ Basis for perfection: _________________________________                                                                Amount entitled to priority:

                                                                                                                                                          $_________________
      Amount of Secured Claim: $__________________ Amount Unsecured: $__________________


6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.                                          FOR COURT USE ONLY
7. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes, purchase
orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages and security agreements. You
may also attach a summary. Attach redacted copies of documents providing evidence of perfection of a security interest.
You may also attach a summary. (See definition of “redacted” on reverse side.)
DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER
SCANNING.
If the documents are not available, please explain:
Date:                    Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the creditor or other
                         person authorized to file this claim and state address and telephone number if different from the notice address
                         above. Attach copy of power of attorney, if any.



                       Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
                                Case 09-10138-MFW    Doc 1893-3 Filed 11/12/09 Page 3 of 3
                                           INSTRUCTIONS FOR PROOF OF CLAIM FORM
 The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there may
                                                                      be exceptions to these general rules.
                                                                Items to be completed in Proof of Claim form
Name of Debtor, and Case Number:
                                                                                                        3a. Debtor May Have Scheduled Account As:
Fill in the name of the Debtor in the bankruptcy case, and the bankruptcy case number.                  Use this space to report a change in the creditor’s name, a transferred
                                                                                                        claim, or any other information that clarifies a difference between this
      09-12515 Nortel Networks (CALA) Inc.                                                              proof of claim and the claim as scheduled by the debtor.

  If your Claim is against multiple Debtors, complete a separate form for each Debtor.                  4. Secured Claim:
                                                                                                        Check the appropriate box and provide the requested information if the
  Creditor’s Name and Address:                                                                          claim is fully or partially secured. Skip this section if the claim is entirely
  Fill in the name of the person or entity asserting a claim and the name and address of the person     unsecured. (See DEFINITIONS, below.) State the type and the value of
  who should receive notices issued during the bankruptcy case. A separate space is provided for        property that secures the claim, attach copies of lien documentation, and
  the payment address if it differs from the notice address. The creditor has a continuing obligation   state annual interest rate and the amount past due on the claim as of the
  to keep the court informed of its current address. See Federal Rule of Bankruptcy Procedure           date of the bankruptcy filing.
  (FRBP) 2002(g).
                                                                                                        5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a).
  1. Amount of Claim as of Date Case Filed:                                                             If any portion of your claim falls in one or more of the listed categories,
  State the total amount owed to the creditor on the date of the Bankruptcy filing. Follow the          check the appropriate box(es) and state the amount entitled to priority.
  instructions concerning whether to complete items 4 and 5. Check the box if interest or other         (See DEFINITIONS, below.) A claim may be partly priority and partly
  charges are included in the claim.                                                                    non-priority. For example, in some of the categories, the law limits the
  2. Basis for Claim:                                                                                   amount entitled to priority.
  State the type of debt or how it was incurred. Examples include goods sold, money loaned,             6. Credits:
  services performed, personal injury/wrongful death, car loan, mortgage note, and credit card. If      An authorized signature on this proof of claim serves as an
  the claim is based on the delivery of health care goods or services, limit the disclosure of the      acknowledgment that when calculating the amount of the claim, the
  goods or services so as to avoid embarrassment or the disclosure of confidential health care          creditor gave the debtor credit for any payments received toward the debt.
  information. You may be required to provide additional disclosure if the trustee or another party
  in interest files an objection to your claim.                                                         7. Documents:
                                                                                                        Attach to this proof of claim form redacted copies documenting the
  3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                                existence of the debt and of any lien securing the debt. You may also
  State only the last four digits of the debtor’s account or other number used by the creditor to       attach a summary. You must also attach copies of documents that
  identify the debtor                                                                                   evidence perfection of any security interest. You may also attach a
                                                                                                        summary. FRBP 3001(c) and (d). If the claim is based on the delivery of
                                                                                                        health care goods or services, see instruction 2.Do not send original
                                                                                                        documents, as attachments may be destroyed after scanning.
                                                                                                        Date and Signature:
                                                                                                        The person filing this proof of claim must sign and date it. FRBP 9011. If
                                                                                                        the claim is filed electronically, FRBP 5005(a)(2), authorizes courts to
                                                                                                        establish local rules specifying what constitutes a signature. Print the
                                                                                                        name and title, if any, of the creditor or other person authorized to file this
                                                                                                        claim. State the filer’s address and telephone number if it differs from the
                                                                                                        address given on the top of the form for purposes of receiving notices.
                                                                                                        Attach a complete copy of any power of attorney. Criminal penalties
                                                                                                        apply for making a false statement on a proof of claim.

                                           _________D E F I N I T I O N S _________                                                 _________I N F O R M A T I O N _________
  Debtor                                                            on property include a mortgage on real estate or a             Acknowledgment of Filing of Claim
  A debtor is the person, corporation, or other entity that has     security interest in a car. A lien may be voluntarily          To receive acknowledgment of your filing, you
  filed a bankruptcy case.                                          granted by a debtor or may be obtained through a court         may either enclose a stamped self-addressed
                                                                    proceeding. In some states, a court judgment is a lien. A      envelope and a copy of this proof of claim or
  Creditor                                                          claim also may be secured if the creditor owes the debtor      you may access the Claims Agent's system
  A creditor is the person, corporation, or other entity owed a     money (has a right to setoff).                                 (http://chapter11.epiqsystems.com/nortel) to
  debt by the debtor on the date of the bankruptcy                                                                                 view your filed proof of claim.
  filing. See 11 U.S.C. §101 (10).                                  Unsecured Claim
                                                                    An unsecured claim is one that does not meet the               Offers to Purchase a Claim
  Claim                                                             requirements of a secured claim. A claim may be partly
  A claim is the creditor’s right to receive payment on a debt                                                                     Certain entities are in the business of purchasing
                                                                    unsecured if the amount of the claim exceeds the value         claims for an amount less than the face value of
  that was owed by the debtor on the date of the bankruptcy         of the property on which the creditor has a lien.
  filing. See 11 U.S.C. §101 (5). A claim may be secured or                                                                        the claims. One or more of these entities may
  unsecured.                                                        Claim Entitled to Priority Under 11 U.S.C. §507(a)             contact the creditor and offer to purchase the
                                                                    Priority claims are certain categories of unsecured            claim. Some of the written communications
  Proof of Claim                                                    Claims that are paid from the available money or               from these entities may easily be confused with
  A proof of claim is a form used by the creditor to indicate the   property in a bankruptcy case before other unsecured           official court documentation or communications
  amount of the debt owed by the debtor on the date of the          claims.                                                        from the debtor. These entities do not represent
  bankruptcy filing. The creditor must file the form with the                                                                      the bankruptcy court or the debtor. The creditor
  Claims Agent at the following address:                            Redacted                                                       has no obligation to sell its claim. However, if
  Nortel Networks Inc. Claims Processing                            A document has been redacted when the person filing it         the creditor decides to sell its claim, any transfer
  c/o Epiq Bankruptcy Solutions, LLC                                has masked, edited out, or otherwise deleted, certain          of such claim is subject to FRBP 3001(e), any
  FDR Station, PO Box 5075                                          information. A creditor should redact and use only the         applicable provisions of the Bankruptcy Code
  New York, NY 10150-5075                                           last four digits of any social-security, individual’s tax      (11 U.S.C. § 101 et seq.), and any applicable
                                                                    identification, or financial-account number, all but the       orders of the bankruptcy court.
  Secured Claim Under 11 U.S.C. §506(a)                             initials of a minor’s name and only the year of any
  A secured claim is one backed by a lien on property of the        person’s date of birth.
  debtor. The claim is secured so long as the creditor has the
  right to be paid from the property prior to other creditors. The  Evidence of Perfection
  amount of the secured claim cannot exceed the value of the        Evidence of perfection may include a mortgage, lien,
  property. Any amount owed to the creditor in excess of the        certificate of title, financing statement, or other
  value of the property is an unsecured claim. Examples of liens    document showing that the lien has been filed or
                                                                    recorded.
